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 4   Attorneys for
     Elizabeth Carrion
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                No. CR. S-08-318 LKK
                                         )
 9                     Plaintiff,        )                ORDER RE WAIVER OF PERSONAL
                                         )                APPEARANCE
10                                       )
           v.                            )
11                                       )
     ELIZABETH CARRION,                  )
12                                       )
                       Defendant.        )
13   ____________________________________)
14          Defendant hereby waives the right to be present in person in open court upon the hearing of
15   any motion or other proceeding in this case, including when the case is set for trial, when a
16   continuance is ordered, when time is excluded under the Speedy Trial Act, when a detention hearing
17   is held, and when any other action is taken by the Court before or after trial, except upon
18   arraignment, plea, trial confirmation, empaneling of jury, or imposition of sentence. Defendant
19   hereby requests the Court to proceed during every absence of hers that the Court may permit
20   pursuant to this waiver; agrees that her interests will be deemed represented at all times by the
21   presence of her attorney, the same as if defendant were personally present; and further agrees to be
22   present in person in court ready for trial on any day that the Court may fix in her absence.
23
24   DATED: August 11, 2008                            /S/
                                                   ELIZABETH CARRION
25                                                 Original in Attorney’s File
     APPROVED:
26
     DATED: August 11, 2008                           /S/ Bruce Locke
27                                                 BRUCE LOCKE
                                                   Attorney for Elizabeth Carrion
28
29                                                    1
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 3         IT IS SO ORDERED.
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     DATED: August 29, 2008
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